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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA            )
                                    )
      v.                            )                   Case No. 21-cr-00286-BAH
                                    )
GRADY DOUGLAS OWENS,                )
                  Defendant.        )
____________________________________)

          DEFENDANT’S RESPONSE TO MINUTE ORDER OF JUNE 16, 2021

       Defendant Grady Owens, by and through undersigned counsel, hereby responds to the

Court’s Minute Order of June 16, 2021, regarding the Motion for Access to Video Exhibits and

to Set Aside Standing Order No. 21-28, filed in case number 1:21-mc-00087-BAH.

       Mr. Owens supports this Motion.

                                               Respectfully submitted,

                                               _________/ s /___________
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                                               Annapolis, MD 21401
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                                  CERTIFICATE OF SERVICE

       I hereby certify that on this 22nd day of June 2021, I electronically filed the foregoing

pleading with the Clerk of Court using the CM / ECF system, which will send an electronic

notification of such filing to all counsel of record.

                                               _________/s/________
                                               Pat Munroe Woodward, Jr., Esq.
                                               Counsel for Mr. Owens
